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                                         EXHIBIT A


                  AFFIDAVIT IN SUPPORT OF SECONDED AMENDED
                         COMPLAINT FOR FORFEITURE



       I, Michael J. Hartwig, a Special Agent with the Federa l Bureau of Investigation ("FBI"),

being duly sworn, state as follows:


                     INTRODUCTION AND AGENT BACKGROUND


       l.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have

been so employed since entering the FBI Academy in April 2008. I am sworn and

empowered to investigate criminal activity involving violations of federal law. I am

cmTently assigned to the FBI's Kansas City Division's Comp lex Financial Crimes Squad,

which investigates allegations of financial misconduct in violation of criminal law. I have

investigated, in Western Missouri and Kansas, allegations of federal law violations,

including embezzlements, corporate fraud, mortgage fraud, securities fraud, public

corruption, and civil rights. Many investigations include money laundering and other

sophisticated attempts to conceal the crime.

       2.      This affidavit is made in support of a second amended complaint for forfeiture

for the fo llowing property:

               A . Approximately $587,633.04 as substitute res for a parcel of property
                   located at 8424 England Street, Overland Park, Kansas 662 12; more fully
                   described as Lot 2 1, Block 4, Galway Domains, a subd ivision in the City
                   of Overland Park, Johnson County, Kansas;

               B. The contents of account nwnber xxxxxxxx.7707, sty led as Tracey L.
                  Karas, located at Bank of America;



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               C. Approximately $166,000 as substitute res for a 2021 Mercedes-Benz G63 ,
                  VIN: W1NYC7HJ5MX365845.

       3.      Based on my training and experience, as well as the information set forth in

this affidavit, there is probable cause to believe that violations of 18 U.S.C. § 1343 : Wire

Fraud and 18 U.S.C. § 1957: Money Laundering (the "Target Offenses") have been

committed by TRACEY LEIGH KARAS (hereinafter "KARAS") and these properties are

subject to forfeiture to the United States.

       4.      The information set forth in this affidavit is based on my personal knowledge

and observations during this investigation, information conveyed to me by other law

enforcement officials, my review ofrecords, documents, and other evidence obtained during

the investigation. Additionall y, un less otherwise indicated, wherever in this Affidavit I

assert that an individual made a statement, that statement is described in substance herein

and is not intended to be a verbatim recitation of such statement. The fo llowing is true to

the best of my knowledge and beli ef.

                                   PROBABLE CAUSE

       5.      KARAS is a 53-year-o ld female who resides at 8424 England Street,

Overland Park, Kansas 662 12; more fu lly described as Lot 2 1, Block 4, Galway Domains, a

subdivision in the City of Overland Park, Johnson County, Kansas. For this affidavit, this

residence is referred to as the SUBJECT PREMJSES. KARAS has a criminal history that

includes the following:

            a. 1996 - Worthless Check in the State of Kansas,

            b. 1997 - Impairing Secured Interest in the State of Kansas,



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            c. 1997 - Felony Stealing in the State of Missouri and was sentenced to five

               years confinement,

            d. 2008 - Felony Theft of $25,000 or more in the State of Missouri, whi ch was

               dismissed by the state,

            e. 2017 - Computer Unlawful Acts - Access without A uthorization with

               damage less than $ 100,000; Theft by Deception - Value $1,500 to $25,000 in

               the State of Kansas and was sentenced to 8-months confinement.

       6.      Based on information provided by C harlie Martin (hereinafter "Martin"), the

owner of Thomas Martin Constructi on (hereinafter ·'TMC"), KARAS was hired on or about

June 13, 20 17, by Martin to work as an administrative ass istant at TMC. At the time of the

hire, Martin was unaware of KARAS ' criminal record. Sometime in 2019, TMC needed to

hire a new bookkeeper. At that time, KARAS told Martin she could take over the

bookkeeper's responsibilities at TMC. Accord ing to Martin, KARAS did very good work

and asked for additional responsibilities. KARAS was given project manager duties and

was offered a salary. KARAS declined the salary, requesting to remain hourly. Martin

agreed and increased KARAS ' pay incrementally over time to as much as approximately

$140 per hour. Pay periods were two-weeks long and KARAS averaged approximately 80

hours of work per pay period.

       7.      Martin and TMC relied upon KARAS more and more as time went on to

effectively run the finan cial aspects of much of TM C's day-to-day business. KARAS'

responsibilities included, but were not limited to: presenting quotes to some of TMC's

customers for requested construction work; purchasing needed materials and supplies for the




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construction projects; retaining subcontractors as needed for the construction projects;

issuing invoices to TMC's customers for the construction projects; receiving invoices or pay

applications from subcontractors on the construction projects; receiving invoices from

suppliers for goods and materials needed for the construction projects; acquiring needed

goods and materials for the construction projects through the use of a corporate credit card;

and issuing TMC checks to pay the subcontractors, goods and material suppliers, and the

issuer of the corporate credit card. Martin advised KARAS was also responsible for

submitting records, such as hours worked, to TMC's payroll processor for all TMC

employees, including for KARAS herself.

         8.       In approximately September 2023 , Martin grew concerned over recent

business losses at TMC and began a more thorough review of the backup documentation for

the various transactions handled by KARAS. Martin hired an outside CPA and Business

Advisory Group to conduct a financial review of KARAS' wages over the prior two years,

and the various paid transactions completed by KARAS over the prior three years.

         Review by Outside Accountants/ Martin 1

        9.        The investigations by Martin and/or the outside accountants

concluded, in part, as follows:

          a.   KARAS overpaid herself approximately $533 ,076.27 between November
               1, 2019 through October 31, 2023, above her established payroll amounts
               with TMC;



1 This information was provided by Martin on February 22, 2024, and was used for reference.     The FBI conducted
an independent analysis from records obtained via lega l process and some of the numbers were different from
what Martin provided. The differences were attributable to the FBI includ ing data from 2018, whereas Martin's
ana lysis began in 2019. In addition, the FBI used a different methodology when accounting for payroll taxes. As a
result, the FB l's loss amount for the Payrol l Scheme was approximately $586,624.50 in gross terms, while the loss
provided by Martin was $533,076.23.


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        b.    KARAS made approximately $86,72 1.4 1 worth of improvements to the
              house in which she was living, and paid for the specific improvements by
              issuing TMC corporate checks and the use of a corporate credit card to pay
              for th e materials, supplies, and contractors performing the work on the
              SUBJECT PREMISES, where KARAS was living; and,

        c.    KARAS made approximately $ 165,2 12.54 in additional improvements to
              the SUBJECT PREMISES and invoiced some of the costs to customers of
              TMC, which customers then paid the invoiced amounts to TMC.

       10.     Neither TMC, nor Martin, authorized KARAS to pay herself the

$533,076.27 in additional wages.

       11 .    Neither TMC, nor Martin, agreed to cover any costs associated with KARAS'

improvements to the SUBJECT PREMISES, including but not limited to the $86,72 1.41 in

improvements that Martin claimed KARAS paid for with TMC checks or the use of the

TMC credit card.

       12.     Neither TMC, nor Martin, agreed to allow KARAS to use TMC funds to

cover any costs associated with improvements to the SUBJECT PREMISES where KARAS

was living by billing the costs of those improvements to other customers of TMC, including

by not limited to the $165,212.54 in improvement costs that KARAS billed to other TMC

customers, which then paid for the invoiced amounts.

       13.     The FBI independently obtained KARAS' payroll records from TMC ' s

payroll provider, KARAS ' known personal financial records, and TM C's business accounts.

Based on a review of those records, and information provided by Martin, the FBI identified

at least four schemes used by KARAS to allegedly defraud TMC. Those schemes include

Payroll , Fraudulent Reimbursement, Invoice, and Credit Card schemes. Based on currently

available records, it is believed the current loss amount from these alleged schemes is



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approximately $865,395 .59, which could increase as additional investigation is completed.

       Payroll Scheme

       14.    Martin provided a copy of an external accou ntant' s report and supporting

documents, dated December 2 1, 2023, to the FBI for rev iew. Based on that report, covering

the review period of November l , 20 19, through November 1, 2023, consisting of 105 pay

periods, the external accountants fo und KARAS received an additional 64 electronic

paycheck deposits. The additional hours paid per additiona l check varied from 0 to 152.5

hours, with 80 hours being the most common. The total alleged overpayment to KARAS

was approximately $533,076.27.

       15.    During the same period, other than Martin (the owner of TMC), six other

employees received a total of 12 additional checks during the review period. The total for

those additional 12 checks was $17,239.

       16.    After learning of KARAS ' embezzlement, Martin notified KARAS she was

terminated from TMC and requested that KARAS return TMC property, to include a TMC

owned laptop. KARAS did not return the laptop and it is believed to still be in her

possession. Martin also suspended operations at TMC and told his two other employees

they were being laid off due to TMC's lack of funds.

       17.    Upon FBI review of KARAS ' payroll records obtained directly from TMC's

payroll processor and KARAS ' personal bank account records, it appeared KARAS ' scheme

to defraud TMC through the payroll fraud scheme may have begun as early as January 2018,

when KARAS submitted what appear to be inflated hours for time worked. The FBI found

KARAS caused herself to receive as many as 80 additional electronic paycheck deposits




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while employed at TMC, causing her to receive approximately $559,324.50 in extra gross

pay above her established payroll amounts.

       18.     Martin advised KARAS submitted biweekly payroll to TMC's payro ll

provider, known to the FBI to be headquartered in Roseland, New Jersey, via phone call to

an automated system. Upon contacting a representative from the payroll provider, the FBI

was advised all payro ll clients submitted payroll information either via telephone or via

on line portal. Therefore, Karas initiated an interstate wire transmission as part of the payroll

process.

       19.    In 20 l 8, KARAS claimed at least 30 hours of overtime pay in 14 different pay

periods, receiving a tota l of approximately $33,462 in extra gross pay over and above her

established payroll amounts with TMC.

       20.    In approximately seven different pay periods during 20 19, KARAS received

multiple electronic paycheck depos its for the given pay period. For example, for the April

17, 2019, pay period, KARAS' payroll records reflect four payments, each for 80-hours of

time worked, and each earning a gross pay of $3,120, resulting in a gross overpayment for

that pay period of $9,360. (Three extra 80-hour entries, each resulting in $3,120 in gross

pay.) For 20 19, the total overpayment to KARAS was approximately $31,200 in extra gross

pay, over and above her establ ished payroll amounts with TMC.

       21.    In approximately four different pay periods in 2020, KARAS received

multiple electronic paycheck deposits for the given pay period. This resulted in

approximately $ 17,600 in extra gross pay over and above her established payroll amounts

with TMC.




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          22.       In approximately 16 different pay periods in 202 1, KARAS received multiple

   electronic paycheck deposits for the given pay period. This res ulted in approximately

   $141 ,400 in extra gross pay over and above her establi shed payroll amounts with TMC.

          23 .      In approximately 21 different pay periods in 2022, KARAS received multiple

   electronic paycheck deposits for th given pay period. This resulted in approximately

   $ 156,062.50 in extra gross pay over and above her estab lished payroll amount with TMC.

          24.       In approximately 18 dif£ rent pay p riods in 2023 , KARAS received multipl e

   electronic paycheck deposits for th given pay period. Thi resulted in approximately

   $179,600 in extra gross pay over and above h r establi h d payroll amo unts with TMC.

          25 .      Based upon a review of payroll record , KARAS r ceiv d a gross sum of

   $ 1,535,959.88, resulting in a total n t pay of 1 2 16 091.03 while employed by TMC from

   2017 through      ovember 2023. These funds were electronicall y depos it d into an account at

   Bank of Am erica ("BOA'.) in KARAS' nam e with an account number ofxxxxxxxx7707,

   with a mailing address of the SUBJECT PREMISES. Bas don payro ll records obtained

   from TMC s payroll provider and information provided by Martin, a portion of these funds,

   equal to approximately $586,624.50, constitute alleged extra gross pay over and above her

   established payroll amounts with TMC. This resulted in extra net pay over and above her

   authorized payroll with TMC deposited to KARAS ' BOA account xxxxxxxx7707 in the

   amount of approximately $473,377. 69.

                 Number of Pay Periods with
Year                                              Extra Gross Pay Received       Extra Net Pay Received
                     Inflated Salary
2018                        14                             $61 ,542                     $46,408.86
2019                         7                             $30,420                      $24,610.11
2020                         4                             $17,600                      $ 14,214.90
2021                        16                             $141 ,400                   $108,258 .12



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2022                              21                                 $ 156,062.50               $135 ,518.98
2023                              18                                 $179,600.00                $144,366.72
Total                             80                                 $586,624.50                $473,377.69


             26.      Ba ed on a revi w of KARAS ' BOA account records, KARAS used some of

    the proceeds from the payroll sch me in the following ways:

                   a. On or about December 19, 2019, KARAS purchased a 2014 Mercede -

                      Benz G-Class, VI : WDCYC70FXEX221051, from Anderson Auto Group

                      of Lincoln, Nebraska for approximately $82,216.00. As part of the purchase,

                      KARAS received a trade in allowance of $42,000.00 for a 2014 Mercedes-

                      Benz G-Class, VIN: WDCYC3HF1CX193706. The remaining balance was

                      financed with Capital One Auto Finance. On or about December 18, 2019, a

                      down payment of $20,000.00 was made to Anderson Ford from BOA account

                      xxxxxxxx7707.

                   b. On or about September 19, 2022, KARAS purchased a 2021 Mercedes-

                      Benz G-Class, VIN: W1NYC7HJ7MX4223 l 9, from Koons Tysons

                      Toyota of Vienna, Virginia for approximately $234,620 .66. As part of the

                      purchase, KARAS received a trade-in allowance of $82,000.00 for the

                      2014 Mercedes-Benz G-Class, VIN: WDCYC70FXEX221051. The

                      remaining balance was financed with Toyota Financial Services. On or

                      about Septern ber 19 2022, a down payment of $ 100,000.00 was made to

                      Kline Tysons Imports Inc. 2 from BOA account xxxxxxxx7707. The



    2 Kline Tyson s Imports Inc is the dba for Koons Tysons Toyota




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         financed balance in the amount of $52,933.04 was paid in whole on or about

         October 12, 2022, from BOA account xxxxxxxx7707.

      c. On or about March 17, 2023, KARAS purchased a 2021 Mercedes-Benz

         G-Class, VIN: W1NYC7HJ5MX365845, from Baron BMW of Merriam,

         Kansas for approximately $209,601.50. As part of the purchase,

         KARAS received a trade-in allowance of $ 199,000.00 for the 202 1

         Mercedes-Benz G-C lass, VIN: WI YC7HJ7MX422319. The remaining

         balance of$ 11 ,605 .99 was paid in full to Baron BMW via electronic

         payment from BOA account xxxxxxxx7707.

      d. On or about June 25, 2022, KARAS purchased a 2022 Jeep Gladiator,

         VIN: 1C6JJTEGXNL127876, from Reed Jeep of Merriam, Kansas for

         approximately $60,730.00. As part of the purchase, KARAS received a

         trade-in allowance of $23,000 for a 2004 Chevro let SSR, YlN:

         1GCES14P44Bl04997. The remaining balance of $40,766.46 was paid

         to Reed Jeep from BOA account xxxxxxxx7707. KARAS sold the Jeep

         Gladi ator to Carvana on or about December 6, 2023, for approximately

         $41,666.00, and these proceeds were deposited into BOA account

         xxxxxxxx7707.

      e. Between January 20 18 and December 2023, notable expenditures

         from KARAS' BOA account xxxxxxxx7707 could be placed into

         three distinct categories and corresponding aggregate totals for each

         category, as depicted in the fo llowing table:




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                    CateQ:orv                                                   Amount
               Health and Wellness 3                                          $287,084.25
                     Jewelry4                                                 $281,928.92
               Home lmprovements 5                                            $147,671.30


         Fraudulent Reimbursement Scheme

        27.      Based on the FBI' s review of KARAS' BOA account xxxxxxxx.7707 on

October 4, 2022, a check (#1854) from TMC's business checking account at Security Bank

(Account# xx0410) for $192,514.94 was written to KARAS and subsequently deposited

into KARAS ' BOA account xxxxxxxx7707. Martin was interviewed by the FBI regard ing

this check.

        28.      Martin advised that while he was out of town, TMC ran out of blank checks,

which were pre-signed to purchase project materials. On September 30, 2022, KARAS


3Health and wellness includes expenditures from the fo ll owing vendors: Adult & Pediatric Dermatology Advanced
Health Care LLC, Ane the ia As ociate of KC, Associated Plastic Surgery, Caryn Health, Celsiu Tannery, Coliseum
Imaging Center, Diagnost ic Im aging Center, John Humphrey Jr. DDS, Kansas City Wellness, KC Bariatric,
Laboratory Corporat ion , Madhukar Chhan·e MD, Menorah Medical Center, Mid America Surgery, MP Pharmacy,
Optum RX, Quest Diagnostics, Refresh Medical Center & Day Spa, Revive RX, Robert M Browne DDS , Skin R
KC, Sano Bello, South Kansas City Surg ical, and Spine A lign Chiropractic.

4Jewelry includ es expenditures from the following vendors: Cal i Jewelers, Eskews Fine Jewelers, Heartland Pawn
& Jewelry, Helzberg Diamonds, Jewel ry Doctors In c, Joseph Diamonds LLC, Kay Jewelers, Kendra Scott, and
Zales.

5 Home Improvements expenditures include the following: Clear light In frared Sauna, Cody Beltz, Cover Care LLC,

Crookham Construction, Delta Plumbing, Eloy Perez, F&M General Labor, Fiber Swimming Pools, Floor & Decor,
FS Swimming Pools, GB Construction, Genera l Lawn & Tree Services, Horizon Lawn & Landscape, Jarod Befort,
Justin Ward, K.D. Christian, Mirck Method , Nebraska Furniture Mart, Pyramid Roofing Co, RRC Framing, Regal
Home Inspections, Silver Leaf Lawn, Suburban Lawn & Garden, Ted Goble, TG Heating & Coo ling, The Tile Co,
The Wallpaper Guy, United Heating & Coo ling, and Weber Flooring.


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wrote two personal checks totaling $192,514.94 to cover the cost of building materials. One

check was to Pella Windows (Pella) for $ 117,869.94. The other was to Superior Electric

Services (Superior) for $74,645.00. KARAS told Martin the two checks from KARAS'

personal account (# 1763 and # 1764) were used to pay for the two invoices received by TMC

from Pella and Superior.

       29.     KARAS provided documentation to Martin via email. The documentation

included scanned copies of the personal checks and the invoices. Believing KARAS'

personal checks were payment of the Pella and Superior invoices on behalf of TMC, Martin

authorized reimbursement in the amount of$192,514.94 to KARAS from TMC.

       30.    Based on the FBI's review of KARAS' personal bank records, neither check

(# 1763 and# 1764) were ever processed for payment by BOA. As such, KARAS appears to

have fraudulently received reimbursement for an expense of$192,514.94 that she never

actually incurred.

       31.    There is probable cause to believe BOA checking account number

xxxxxxxx7707, styled as Tracey L. Karas, contains funds directly traceable to the proceeds

that KARAS unlawfully obtained from TMC. KARAS' account was opened in November

2008, in the name of Tracey L. Karas. The signature card for the account lists KARAS as

the sole signor. An analysis of the account activities from January 2018 through December

2023 showed deposits of$2,343,168.84 of which at least $426,968.83 have thus far been

identified as direct proceeds of KARAS' unlawful payroll schem e. Another $192,514.94

has been identified as direct proceeds from the fraudulent reimbursement check. The

resulting total is approximately $619,483.77 in w1lawfully obtained proceeds that were




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deposited into KARAS' BOA account. 6

         32.       As of March 22, 2024, based on information obtained from BOA, the balance

of account number xxxxx.xxx.7707 wa $142,791.12 .

         Invoice Scheme

         33.      In addition to the above schemes, Martin alleg s KARAS engaged in an

invoice scheme to have TMC customer pay for remodeling work done at her residence, the

SUBJECT PREMISES , in the amount of at least $63 ,292.03, billed to two different TMC

projects. 7 Martin advised KARAS was not auth ori zed to use TMC fund for work done at

the SUBJECT PREMISES. Martin advised TMC, and sp cifica lly KARAS , used her TMC

email account to communicate with clients and ubcontractor regarding the

sending/receiving of invoices and billing statements. In addition, Martin all ges KARAS

overbilled a TMC customer by an additional $100,417.3" , the purpose of this ov rbilling

and the subs equent use of these funds is yet to be determined.

                                                    Project A

                                                                                               Amount Attributable
                                 Actual Cost to
 Subcontractor                                                   Billed Amount                   to SUBJECT
                                    Project
                                                                                                  PREMISES
       Sub 1                      $35 ,207.00                       $62,970.00                       $27,763 .00
       Sub 2                      $27,100.00                        $57,831.19                  Yet to be determined
       Sub 3                      $22,874.18                        $78,335 .60                 Yet to be detenn ined
       Sub 4                      $56,200.85                        $70,425 .57                 Yet to be detem1ined
       Total                      $141,382 .03                      $269,562.36                 At Least $27,763.00




6 Not all deposit information has been rece ived from Bank of America. Bank of America is still working to produce

missing deposit information for $525 ,553 .79 out of the $2 ,434,403 .01 in total depos its during the rev iew period.

7 TM C alleges KA RAS ' Invoice Scheme resulted in a loss of$ 165 ,2 12.54.    For this affi dav it, the loss amount of
$63 ,292 .03 is based on cun-ently available records. Once reco rds are obtai ned from add itional entiti es, this amount
could change, possibly increasing to th e amount alleged by TMC.


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       34.    Customer 1 contracted TMC to manage Project A. A TMC invoice dated

August 4, 2022, to Customer 1 for Project A, contained itemized expenses for severa l

contractors, totaling $335,584.31. Martin located a second TMC invoice for this project

with the same total. One invo ice included a "Misc" line item for $1 01 ,470.5 1. The second

invoice included allegedly inflated numbers for at least four of the subcontractors. The chart

above illustrates the actual invoice amounts for work performed by subcontractors, the

billed amount of the invoices which include the inflated amounts, and the amount of the

inflated invoices that have been determined, thus far, to have been used to pay for work

performed at the SUBJECT PREMISES.

       35.    Subcontractor 1 submitted a proposal dated June I, 2022, to TMC for work

associated with Project A in the amount of $35,207. However, both TMC invoices for

Project A to Customer 1 contained line items for work done by Subcontractor 1 in the

amount of $62,970. Martin located an other proposal from Subcontractor 1, also dated June

1, 2022, in the amount of $62,970. Martin believed the $62,970 proposal was modified

because the line with the total amount was in a different font. Martin believed KARAS was

responsible for the modification. I have reviewed both proposals and the one with the

higher amount appeared to be altered.

       36.    Subcontractor 1 then submitted two invoices to TMC for payment for

completed work. One was dated July 21, 2022, in the amount of $27,763, for work

completed at the SUBJECT PREMISES . The work done included 283 hours of labor, in the

amount of $2 1,945 plus $5,818 for materials, supplies, eq uipment, and overhead.

According to this invoice, the work completed was as fol lows:




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      "- A pply KemKromic $ two coats of oil to fence
       - paint house with two coats; install trim
       - caulk & paint; install tile sidewalk
       - seal planters and fountain
       - pa int two coats to artwork in front and back yards
       - paint exterior doors
      - apply mud, sand, paint two coats on walls in Dining Room
      - apply KemKromic and three coats DTM to garage door
      - caulk and paint outside of new addition
      - F lex seal driveway and garage floor"

       37.    The second invoice submitted to TMC by Subcontractor 1 was dated A ugu st

8, 2022, in the amount of $35,207, for work completed on Proj ect A. This amount matched

the amount on what is believed to be the legitimate proposal from Subcontractor 1 for

Project A.

       38.    A check drawn on TMC' s business acco unt, dated September 7, 2022, was

made payable to Subcontractor 1, in the amount of $62,970, with a memo indicating the

payment was for work completed on Proj ect A. However, the total payment was equa l to

the sum of the invoices for work done by Subcontractor 1 for Project A, in the amount of

$35,207, and at the SUBJECT PREMISES, in the amount of $27,763.

       39.    Subcontractor 2 submitted a proposal dated June 14, 2022, to TMC for work

associated with Proj ect A in the amoun t of $27,100. Martin located another proposal from

Subcontractor 2, also dated June 14, 2022, in the amount of $57,831.19. Martin believed the

higher proposal was modified because the line with the bid amount was in a different font.

Martin believed KARAS was responsible for the modification. I have reviewed both

proposals and the one with the higher amount appeared to be altered.

       40.    Subcontractor 2 submitted an invoice to TMC on July 27, 2022, in the amount

of $27,100 for work completed on Project A. This amount matched the amount on what is



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believed to be the legitimate bid from Subcontractor 2 for Project A.

       41.    A check drawn on TMC ' s business account, dated September 6, 2022, was

made payable to Subcontractor 2, in the amount of $27, 100, with a memo ind icating the

payment was for work completed on Project A. However, Customer l ' s payment to TMC

for Project A included a line-item expense for Subcontractor 2 in the amount of $57,83 1.19.

It is yet to be determined why this project was allegedly overbi ll ed by KARAS in the

amount of $30,731.19.

       42.    Subcontractor 3 submitted a proposal dated June J 3, 2022, to TMC for work

associated with Project A in the amount of $2 1,82 1. Martin located another proposa l from

Subcontractor 3, also dated June 14, 2022, in the amount of $78,335.60. Martin believed the

higher proposal was modified because the line with the bid amount was in a different font.

Martin believed KARAS was responsible for the modification.

       43.    Subcontractor 3 submitted an invoice to TMC on July 29, 2022, in the amount

of $22,874.18 for work completed on Project A. This amount matched the amount, plus tax,

that was on what is believed to be the legitimate bid from Subcontractor 3 for Project A.

       44.    A check drawn on TMC's business account, dated September 6, 2022, was

made payable to Subcontractor 3, in the amount of $22,874.18, with a memo indicating the

payment was for work completed on Project A. However, Custom er J's payment to TMC

for Project A included a line-item expense for Subcontractor 3 in the amount of $78,335.60.

It is yet to be determined why this project was allegedly overbilled by KARAS in the

amount of $55,461.42.

       45.    Subcontractor 4 submitted an estimate dated June I 0, 2022, to TMC for work




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associated with Project A in the amount of $43,33 1.86. Martin located another proposa l

from Subcontractor 4 also dated June 14, 2022, in the amount of $70,425.57. Martin

believed th higher proposal was modified because the line with the bid amount was in a

different font and itemization were mi ing. Martin believed KARAS was responsible for

the modification. I haver viewed both proposals and one appeared to be altered.

         46.      Martin did not provide an invoice from Subcontractor 4 regarding the work

completed on Project A. However, a check drawn on TMC ' s business account, dated

August 16, 2022, was made payable to Subcontractor 4, in the amount of $56,200 .71.

However, Cu tomer 1's payment to TMC for Project A included a line-item expense for

Subcontractor 4 in the amoun t of $70,425.57 . It is yet to be determined why this project

was allegedly over billed by KARAS in the amount of approximately $14,224.72.8

         47.      On September 6, 2022, TMC received payment from Customer I in the

amount of $33 5,584 .31 , equal to the entire invoiced amount for Project A. This amount

included $27,763 for work done at the SUBJECT PREMISES and alleged overbilling in the

amount of$100,417.33. The purpose of this alleged overbilling is yet to be determined.

The total of the work at the SUBJECT PREMISES plus the alleged overbilling is

$12 8, 180.33 .

                                                   Project B

                                                                                                 Amount Attributable
                                    Actual Cost to
     Subconh"actor                                                  Billed Amount                  to SUBJECT
                                       Project
                                                                                                    PREMISES


8 One TMC invo ice for Customer     I li sted a li ne-item expense for Subcontractor 4 in the amount of $70,425.57 . The
other IMC invo ice for Customer J li sted a line-item expense for Subcontractor 4 in the amount of$56,200.85 . The
overbil ling amount of $ l 4,224.72 was used as th e difference between the two in voices. Had the differe nce between
the higher amount bill ed ($70,425.57) and th e amount pa id by TMC to Subcontractor 4 ($56,200.71) been u ed, the
difference wou ld have been $ 14,224 .86.


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        Sub 1                 $58,403.00                 $72,218.00                $13,815.00
        Sub 1                  $6,105 .00                $24,890.00                $18,785.00
        Sub 5                    $0.00                   $2,929.03                 $2,929.03
        Total                 $64,508.00                $100,037.03                $35,529.03


       48.    The chart above illustrates the actual invoice amounts for work performed by

subcontractors, the billed amount of the invoices which include the inflated amounts, and

the amount of the inflated invoices that have been determined, thus far, to have been used to

pay for work performed at the SUBJECT PREMISES.

       49.    Martin located, and provided to the FBI, an invoice from Subcontractor I

(same Subcontractor 1 as in Project A) to TMC dated October 26, 2022, for work done on

Project Bin the amount of$72,218. This invoice appeared to be altered as the total was in a

different font. Martin located another invoice from Subcontractor 1 that was dated October

17, 2022, for work done at the SUBJECT PREMISES, in the amount of $13,815, with a

detailed description of the work done, which included $11,550 in labor and $1,802 in

materials, supplies, equipment, and overhead. According to this invoice, the work

completed was as follows:

     "Caulk and paint exterior door trim; apply corner bead; tape and mud walls;
     sand, prime paint ceiling x2; paint walls; cut and install trim, caulk, putty,
     paint trim 2 coats; tape, mud, sand and paint x3 patches; spackle, sand, spot
     prime, cut in and roll walls; cut and notch trim for closet doors; install trim,
     caulk, putty and paint; cut & frame pass through door; sheet rock, tape, mud,
     trim, caulk, prime and paint."

       50.    A check drawn on TMC's business account, dated November 9, 2022, was

made payable to Subcontractor 1, in the amount of $72,218. Records provided by Martin

indicated this amount was for $13,815 for work done at the SUBJECT PREMISES plus

$58,403 for work done for Project B. The sum of the payments for work done at the



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SUBJECT PREMISES and Project B equals $72,2 18, the amount of the invoice that

appeared to be altered for work done on Project B.

       51.    Martin located, and provided to the FBI, another invoice from Subcontractor 1

to TMC dated December 16, 2022, for work done on Project B. This invoice appeared to be

altered as the detailed description of work to be done appeared to be deleted and the total

was in a different font. The total was listed as $23,700. Martin located another invoice

from Subcontractor 1 that was dated December 20, 2022, for work done at the SUBJECT

PREMISES, in the amount of $18,785, with a detailed description of the work done, which

included $ 15,400 in labor and $3,385 in materials, supplies, equipment, and overhead.

According to this invoice, the work completed was as follows:

     "Prime and paint 2 candle stick holders; prime and paint 2 end tables and
     coffee table; scrape and paint glass for tables; remove countertops; cut down
     wall and re-frame; cut out backsplash and sheetrock; move outlets; re-
     sheetrock, tape, mud, sand and paint; remove cabinets, raise and level;
     install base below cabinets; cut and install 220 ft of quarter round; caulk and
     paint; cut and install shelves for closest in gym; build rack and hand from
     ceiling in garage; touch up paint fence; touch up walls."

       52.    A check drawn on TMC's business account, dated January 30, 2023, was

made payable to Subcontractor 1, in the amount of $24,890. Records provided by Martin

indicated this amount was for $ 18,785 for work done at the SUBJECT PREMISES plus

$4,925 for Project Band $ 1,1 80 for work done at two other projects. The sum of the

payments for work done at the SUBJECT PREMISES and Project B equaled $24,890, the

amount of the invoice that appeared to be altered for work done on Project B.

       53.    On July 20, 2023, Subcontractor 5 submitted an invoice to KARAS for work

done at the SUBJECT PREMISES, in the amount of $2,929.03. On July 26, 2023, a TMC

check was made payable to Subcontractor 5, in the amount of $2,929.03, with a memo line


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indicating the payment was associated w ith TMC Project B.

       54.       The total for work perfonned by TMC subcontractors at the SUBJECT

PREMISES and subsequently invoiced to and paid for by TMC cl ients was approxim ately

$63,292.03 .

       Credit Card Scheme

       55 .       TMC provided KARAS w ith two company credit cards to use for company

expenses. Martin reviewed TMC 's credit card statements and fo und KARAS made personal

purchases for j ewelry, food, and other household items. Ma11in prepared a spreadsheet of

unauthorized credit card purchases made by KARAS , whi ch totaled approximately

$24,009. 23. Martin included unauthorized food expenses in his ca lculation, but advised he

often allowed for KARAS to purchase meals. For this affid avit, a lleged unauthorized food

expenses are not included.

       56.       FBI investigators independently obtained TMC ' s credit card statements to

verify the charges identified by Martin. The fo ll owing is an itemized list of significant

unauthorized charges, totaling $50,264.12, made by KARAS, identified by Martin, and

confim1ed on the independently obtained TMC finan cial statements:

              a. April 24, 202 1 - $ 1,994.66 at "052 - H elzberg Diamonds".

                 According to records obtained from Helzberg Diamonds, on April

                 24, 202 1, KARAS purchased three item s and three lifetime care

                 plans for a total of $ 1,994.66.

              b. May 1, 2021 - two transactions totaling $4,998.65 at "Zales # 1735".

                 According to records obtained from Zales, on May 1, 202 1,




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           KARAS purchased ni11e items in two transactions from the Zales

           j ewelry store, located inside Oak Park Mall in Overland Park,

           Kansas.

      c. March 4, 2022 - $24,355.98 at "HCM*SLEEK FENCE". Martin

           advised this purchase was not associated with any TMC projects.

           Open-source information indicated Sleek Fence sells a variety of

           aluminum privacy style fences. Physical surveillance conducted at

           the SUBJECT PREMISES indicated a fence was present that

           matched the style of fences sold by Sleek Fence.

      d. April 5, 2022 - $4,000 at "FIBER SWIMMING POOLS". Martin

           advised this purchase was not associated with any TMC projects.

           Publicly available ari el photography indicated an outdoor pool was

           present at the SUBJECT PREMISES.

      e. March 21, 2023 - $5,9 14.83 at "Black Jack Truck Access" .

           According to open-source information, Blackj ack Truck

           Accessories is in Lee's Summit, Missouri, and supp lies vehicle

           access on es.

      f.   August 12, 2023 - $9,000.00 at "Zales #1735" . According to

           records obtained from Zales, on August 12, 2023, KARAS placed a

           "special order" for an item, described as Diamond Band Number:

           01735010225852, with a retail value of $39,999.70 at the Zales

           jewelry store, located inside Oak Park Mall in Overland Park,




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                 Kansas . The receipt indicated a 10 percent discount and two

                 payments. One payment was made in the amount of $9,000.00

                 u ing the TMC credit card and another payment in the amount of

                 $20,591.79 was made using a debit card for BOA account

                 xxxxxxxx7707. Zales advised KARAS cancell ed this item before it

                 an-ived at th store. KARAS then used a debit card for BOA

                 account xxxxxxxx7707 to purchase the item when it a1Tived for a

                  ale price of $23,999.8 2. Also included in the transaction were a

                Lifetime Protection plan in the amount of $534 .99 and a credit for a

                pre-owned item in the amount of ($3,999.99) for a total purchase

                price, to include tax, in the amount of $22,506.16. The $9,000

                charge to the TMC credit card was not credited back to the account.

                Date                          Description                         Amount
             4/24/2021                    Helzberg Diamonds                      $1 ,994.66
              5/ 1/2021                          Zales                           $4,998.65
              3/4/2022                        Sleek Fence                       $24,355.98
              4/5/2022                   Fiber Swimming Pools                    $4,000.00
             3/21 /2023                 Black Jack Truck Access                  $5 ,914.83
             8/ 12/2023                          Zales                          $9,0000.00
                Total                                                           $50,264 .12


       Karas Residence

       57.      On October 19, 201 1, Tracey Karas, a single person, purchased 8424 England

Street, Overland Park, Kansas, from John D. Hudson and Sofia Ann Hudson.

       58.      On April 17, 2012, Tracey Karas transfened 8424 England Street, Overland Park,

Kansas, to the Meinhardt Family Irrevocable Trust.




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        59.     Based on the FBI 's review of records for KARAS' BOA account number

xxxxxxxx7707, beginning in September 2018, KARAS began to spend substantial amounts on

home renovations .

    Date           Vendor          Check#        Check Memo                           Amount
  4/4/2022        Cody Beltz          1750             Fence                          $2,000 .00

  4/4/2022        Justin Ward         175]             Fence                          $3 ,000 .00


  4/4/2022        Jarod Befort        1752             Fe nce                         $7,730.00

  4/ 11 /2022     Justin Ward         1753             Fence                           $500.00

  4/1 1/2022      Cody Beltz          1754             Fence                           $500.00
                 FS Swimming
  7/ 12/2022                          1760                                        $26,942. 13
                     Pools
                                                 Reta ining Wa ll/
  7/ 14/2022    G B Construction      1759                                        $19,776.66
                                                       Gym
                Fiber Swimming
  8/4/2022                                                                            $4,000.00
                      Pools
                 FS Swi mm ing
  8/4/2 022                                                                           $7,220.3 1
                      Pools
  8/15/2022     Cover Care LLC                                                        $4,868.50
                   Clearlight
  8/31/2022                                                                           $6,224 .00
                 Infrared Sauna
                   Clearlight
  l 0/6/2022                                                                          $1 ,394.00
                 Infrared Sauna



       60 .     In 2023 , KARAS ' last year of employment at TMC, the following home

renovations, believed to be completed at the S BJ CT PREMISES, were paid using funds from

BOA account xxxxxxxx7707.

     Date                    Vendor                    Check#        Check Memo                Amount

  2/27/2023       General Lawn & Tree Services          1772         Tree at Street           $1 ,900.00


  7/ 10/2023         United Heating & Cool ing          1776                                   $299 .00


  7/26/2023           Crookham Construction             1777         Tunnel Lights            $4,730 .00




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    9/1/2023               Cover Care LLC               1783       Fina l Payment      $4,868.50
   10/2/2023               Cover Care LLC                                              $2,518.70

   I 0/26/2 023            Cover Care LLC               1785                           $2,388.24

   12/8/2 023               KO.Christian                1789                           $5,909.02


  12/15/2023                 The Ti le Co.              179 1                          $12,528.00




                                                CONCLUSION

        61.       Bas d on the forego ing, I have probable cause to believe that KARAS

engaged in several wire fraud schemes to defraud Martin and TCM. Approximately

$665,892.63 in proceeds from the payroll cheme and reimbursem nt ch me were

deposited in KARAS ' BOA account number xxxxxxxx7707 . KARAS then used some of

these proceeds to pay for improvements to the prope11y located at 8424 England Street,

Overland Park, Kansas as set out in paragraphs 59 an d 60. KARAS al o used the Invoice

Scheme to have improv men ts done at the property.

        62.       Additionally, I have probable cause to believe that the improvements made to

8424 England Street, Overland Park, Kansas as detailed herein constitute proceeds traceable to

KARAS' wire fraud schemes. Accordingly, the real property up to the value of the traceable

proceeds, is subject to forfeiture to the United States pursuant to 18 U.S.C. § 98 l(a)(l )(C) .

        63.       I also have probable cause to believe that violations of 18 U.S.C. § 1957 have

occurred based upon the following transactions as set out in paragraphs 59 and 60: check no.

1759 in the amount of$19,776.66; check no. 1760 in the amount of$26,942.13; and check no.

1791 in the amount of$12,528.00. As these checks, which contained more than $10,000 in



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proceeds deri ved from KARAS' wire fraud schemes, were used to purchase home improvements

to 8424 England Street, Overland Park, Kansas, this real property, is subject to forfeiture

pursuant to 18 U.S.C. § 98l(a)(l)(A) as property involved in money laundering transactions.

       64.     Based on the foregoing, KARAS also used some of the proceeds depos ited

into BOA account number xxxxxxxx7707 to purchase the 2021 Mercedes-Benz G63 with

VIN: Wl NYC7HJ5MX365845 and the 2019 Mercedes that was traded in for the 2021 Mercedes.

Accord ingly, the 2021 Mercedes-Benz G63 with VJN: WlN YC7HJ5MX365845 is subject to

forfeiture pursuant to 18 U.S.C. § 98l(a)( l)(C) as it constitutes proceeds traceable to violations

of 18 U.S.C. § 1343. This vehicle is also subject to forfeiture pursuant to 18 U.S.C. §

98l (a)(1)(A), because the vehicle constitutes property involved in a violation of 18 U.S.C. §

1957. The monetary transaction that violated 18 U.S.C. § 1957 was the $1 1,605.99 paid to

Baron BMW to finish paying for the 2021 Mercedes-Benz G63, VIN: W1NYC7HJ5MX365845.

       65.     Furthermore, the contents of KARAS ' BOA account number xxxxxxxx7707,

constitutes proceeds derived from her w ire fraud schemes and are subject to forfeiture

pursuant to 18 U.S.C. § 981(a)(l)(C) and 18 U.S.C. § 984. This account is also subject to

seizure and forfeiture pursuant to 18 U.S .C. § 98 l(a)( l)(A) as it constitutes property

invol ved in money laundering transactions in violation of 18 U.S.C. § 1957. The account

was involved in the purchase of all the vehicles as set out in paragraph 26 and the receipt of

the funds from the sale of the 2022 Jeep Gladiator.

       66.     Since the date of the original complaint filed in this case, the property located at

8424 England Street and the 2021 Mercedes-Benz were sold by interlocutory sale. The proceeds

from those sales have been substituted for the original two properties.




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